
51 So.3d 644 (2011)
Alvin CLAVELLE, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-6658.
District Court of Appeal of Florida, First District.
January 24, 2011.
Matt Shirk, Public Defender, Fourth Judicial Circuit, and Richard B. Gordon, Assistant Public Defender, Jacksonville, for Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition seeking a belated appeal of the judgment and sentence rendered on July 22, 2010, in Duval County Circuit Court case number 16-2008-CF-018170-BXXX-MA, is granted. Upon issuance of mandate, a copy of this opinion shall be furnished to the clerk of the lower tribunal for treatment as a notice of appeal in accordance with Florida Rule of Appellate procedure 9.141(c)(5)(D). The court notes that the Office of the Public Defender has been appointed to represent petitioner in the appeal authorized by this opinion.
VAN NORTWICK, LEWIS, and ROBERTS, JJ., concur.
